         Case 2:16-cv-05874-GEKP Document 38 Filed 02/27/18 Page 1 of 1



DATE OF NOTICE:            February 27, 2018


                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JOSPEH H. LEWIS, JR.,                      :             CIVIL ACTION
           Plaintiff,                      :
                                           :
                      v.                   :
                                           :
UNIVERSITY OF PENNSYLVANIA,                :
          Defendant.                       :             NO.   16-5874



                NOTICE OF SCHEDULING CHAMBERS CONFERENCE


       A Chambers Conference in this matter has been scheduled for Monday, April 2, 2018 at

4:00 p.m. with the Honorable Gene E.K. Pratter in Chambers, Room 10613, in the United States

Courthouse, 601 Market Street, Philadelphia, PA 19106.



                                                          S/Shelli L. MacElderry
                                                          Shelli L. MacElderry for
                                                          Rose A. Barber
                                                          Deputy Clerk - Civil
                                                          For Judge Gene E.K. Pratter
                                                          267-299-7352
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